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Nos. 25-1555 through 25-1578; 25-1580 through 25-1593; 25-1676; and 25-1677
                               (Consolidated)


                United States Court of Appeals
                     for the Third Circuit
                  ATLAS DATA PRIVACY CORP., et al.,
                                                             Plaintiffs-Appellees,
             MATTHEW J. PLATKIN, in his official capacity as
               ATTORNEY GENERAL OF NEW JERSEY
                                                             Intervenor-Appellee,
                                      v.
                          WE INFORM LLC, et al.,
                                                          Defendants-Appellants.
  On Appeal from the United States District Court for District of New Jersey
                          No. 1:24-cv-04037-HB
                  The Honorable Harvey Bartle III, Judge

 BRIEF OF THE NATIONAL ASSOCIATION OF ASSISTANT UNITED
 STATES ATTORNEYS, THE NATIONAL ASSOCIATION OF POLICE
          ORGANIZATIONS, ET AL., AS AMICI CURIAE
               IN SUPPORT OF APPELLEES AND
           AFFIRMANCE OF THE DISTRICT COURT


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                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Fed. R. App. P. 26.1 and Third Circuit LAR 26.1, counsel for

amici certify the following:

      The National Association of Assistant United States Attorneys, New Jersey

State Policemen’s Benevolent Association, National Association of Police

Organizations, and Federal Bureau of Investigation Agents Association have no

parent corporation, subsidiary, or affiliate and that no publicly held corporation owns

10% or more of their stock.




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                         INTEREST OF AMICI CURIAE 1

      This brief is submitted on behalf of leading national and state organizations

that represent over 5,500 federal prosecutors across the United States as well as tens

of thousands of police officers in the State of New Jersey, over 1,000 police units

and associations, over 253,000 sworn law enforcement officers, and more than

100,000 citizens. Signatories include:

    • The National Association of Assistant United States Attorneys (NAAUSA),

      which was founded in 1992 to advance the mission of AUSAs and their

      responsibilities in promoting and preserving the Constitution of the United

      States, fostering loyalty and dedication in support of the Department of

      Justice, and encouraging the just enforcement of U.S. laws. NAAUSA

      represents the interests of more than 5,500 AUSAs throughout the country and

      the U.S. territories.

    • The New Jersey State Policemen’s Benevolent Association, Inc. (NJSPBA) is

      a state-wide organization representing law enforcement officers at the state,

      county, and municipal levels of government. The NJSPBA is the parent

      organization of over 350 affiliated local PBAs. It provides legal assistance to


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  This brief is submitted with the consent of all parties. Pursuant to F.R.A.P.
29(a)(4)(E) and Local Rule 29.1, counsel for amici affirm that this brief was not
authored by any party’s counsel in whole or in part, and that no party or other person,
other than the amici curiae, its members, or its counsel, contributed money intended
to fund the preparation or submission of this brief.
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   local PBAs, and to all law enforcement personnel represented by those locals,

   on matters of concern that impact their health, safety, professionalism, legal

   representation, and economic well-being. The NJSPBA is comprised of

   approximately 33,000 active law enforcement officers and 23,000 retired law

   enforcement officers.

• The National Association of Police Organizations (NAPO) is a coalition of

   police units and associations from across the United States. It was organized

   for the purpose of advancing the interests of America’s law enforcement

   officers. Founded in 1978, NAPO is the strongest unified voice supporting

   law enforcement in the country. NAPO represents over 1,000 police units and

   associations, over 241,000 sworn law enforcement officers, and more than

   100,000 citizens who share common dedication to fair and effective law

   enforcement. NAPO often appears as amicus curiae in cases of special

   importance.

• The Federal Bureau of Investigation Agents Association (FBIAA) is a non-

   profit organization dedicated to advancing and safeguarding the welfare,

   careers, economic interests, and conditions of employment of Federal Bureau

   of Investigation (FBI) Special Agents, both active and retired. Founded in

   1981, the FBIAA fulfills this mission by providing support and non-partisan

   and issue-driven advocacy for its more than 14,000 members.

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Together, amici have decades of experience with the justice system and specifically

with the personal risks and violence that its members face on a daily basis in

connection with their work. Amici are intimately familiar with the nature and volume

of threats confronting judges, prosecutors, and law enforcement officers, the ways

in which the security environment has changed in recent years, and the importance

of protections like Daniel’s Law. Moreover, amici have a longstanding interest in

the stable operation of the judiciary and the advancement of the rule of law—and

understand how Daniel’s Law safeguards those vital institutions.

                         SUMMARY OF ARGUMENT

      Each night, after a long shift or a full day in court, law enforcement officers

take off their bulletproof vests, judges hang up their robes, and they all head home.

But their jobs do not always leave them there. Their work can follow them home —

sometimes quite literally and with dangerous consequences.

      In recent years, there has been a marked and disturbing surge in physical

threats and fatal violence against jurists, prosecutors, and law enforcement,

particularly in their family residences. In his 2024 report to the federal judiciary,

Chief Justice Roberts specifically highlighted the “significant uptick in identified

threats at all levels of the judiciary,” including due to “doxing.” In several high-

profile incidents, disgruntled litigants have tracked down the home addresses of

judges or law enforcement officers online, come to their abodes, and hurt or killed


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them or members of their families. In addition to being obviously tragic, this trend

is deeply problematic for the integrity of an independent judiciary, as well as for the

effective operation of law enforcement agencies.

      To be clear, public service has never been a risk-free endeavor, particularly

for officials working in the criminal justice system. But the mounting physical risks

to members of the judiciary and of law enforcement have been complicated and

accelerated by the sale and propagation of private data, including personal addresses,

through data brokers and other Internet vendors. There are simply not enough

governmental resources to provide around-the-clock, at-home security to every

single prosecutor, judge, or police officer in America who could potentially be under

serious threat. As a result, it is reasonable and necessary to regulate commercial data

brokers who choose to sell the personal information of prosecutors, law enforcement

officers, and judges, including by providing a right to remove personal data.

      Amici and their members, who span different levels and types of positions in

the justice system, do not often file amicus briefs, let alone together. But given the

recent increase in unfounded attacks and violent threats levied against these

apolitical civil servants and their families, the importance of Daniel’s Law is so

critical that they feel compelled to weigh in on this appeal.




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      Amici respectfully urge this Court to consider the practical significance of

Daniel’s Law to the multitude of judges, prosecutors, and law enforcement officers

who serve across the Third Circuit and the nation.

      Additionally, this Court should be aware of disturbing studies from the U.S.

Marshals Service and from investigative outlets detailing the multiplying threats of

violence against members of the judiciary, law enforcement, and their families.

Particularly in light of those trends, amici depend upon statutes like Daniel’s Law to

do their work safely and effectively. Moreover, amici agree with Chief Justice

Robert’s sense of being “grateful to the many federal and state legislators who have

stepped forward to sponsor bills shielding judges’ personal identifying information

from the public domain.”

      Amici also encourage the Court to examine how Daniel’s Law places a

generally modest burden on commercial data brokers: they simply must remove the

personal data of a covered person in a prompt manner (or face risk of a claim).

Despite occasionally overheated rhetoric on the other side, this is not the end of the

world — nor is it the end of the Internet. But for judges, prosecutors, and members

of the law enforcement community, reselling private data like their home address—

in ways that make it all too easy for an aggrieved individual to obtain—can actually

make a world of difference for their security and the safety of their families. This




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Court should uphold the constitutionality of data broker regulations and affirm the

District Court’s denial of Appellants’ motions to dismiss.

                                   ARGUMENT
I.    THE REGULATION OF COMMERCIAL DATA BROKERS SERVES
      A COMPELLING INTEREST IN PROTECTING THE SAFETY OF
      JUDGES, PROSECUTORS, LAW ENFORCEMENT OFFICERS,
      AND THEIR FAMILIES AT HOME.

      The Appellants in this case brought a sweeping, facial constitutional challenge

to a commonsense state law that regulates the use of sensitive personally identifiable

information, namely by commercial data brokers. See generally N.J. Stat. Ann. §§

47:1A-1, et seq., and 56:8-166.1 (“Daniel’s Law”). The District Court rightly denied

their motion to dismiss and rejected their broad constitutional theory. In addition to

the other serious doctrinal hurdles they could not surmount, the Appellants could

hardly deny that Daniel’s Law serves a compelling state interest. As laid out below

(infra § I.A), members of the justice system face a proliferation of personal threats

and violence at home, which have surged in recent years and been fueled by the

misuse of personally identifiable information (PII) online. Protecting public servants

like amici from deadly threats is not only pivotal at an individual level – it is also

fundamental for our system of government, which depends upon an independent

judiciary that is insulated against undue pressures of violence or revenge (infra §

I.B). Lastly, this Court should be aware that Daniel’s Law normally places a



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manageable compliance burden on commercial data brokers, which can adhere to

the statute in a straightforward and reasonable manner (infra § I.C).

      A. Law enforcement officers, jurists, prosecutors, and their families
         face multiplying threats of violence at home due to the sale and
         propagation of sensitive personal information.

      In his latest year-end report to the federal judiciary, Chief Justice Roberts

highlighted “how in recent years, there has been a significant uptick in identified

threats at all levels of the judiciary.” Chief Justice John G. Roberts, Jr., 2024 Year-

End    Report     on    the   Federal    Judiciary    at   6    (Dec.    31,    2024),

https://www.supremecourt.gov/publicinfo/year-end/2024year-endreport.pdf.            As

detailed below, he relayed troubling new statistics from the U.S. Marshals Service

demonstrating that “the volume of hostile threats and communications directed at

judges has more than tripled over the past decade.” Id. He examined the practice of

“doxing” i.e., “releasing otherwise private information such as addresses and phone

numbers,” which “can prompt visits to the judge’s home, whether by a group of

protestors or, worse, an unstable individual carrying a cache of weapons.” Id. at 6-

7. He recounted recent murders of state court judges, which “highlight the

vulnerability of judges who sign their names to the decisions they render each day

and return home each night to communities, where they remain involved as

neighbors, volunteers, and concerned citizens. Judges cannot hide, nor should they.”

Next, the Chief Justice specifically stressed how he was “grateful to the many federal

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and state legislators who have stepped forward to sponsor bills shielding judges’

personal identifying information from the public domain.” Id. at 6.

      Numerous other governmental and published studies have confirmed that

threats against public servants (like amici’s members) at home have grown at an

alarming rate in recent years. In 2023, the Administrative Office of the U.S. Courts

highlighted this serious problem:

      The proliferation of judges’ PII [personally identifiable information] on
      the internet has been a major concern for the Judiciary in the wake of
      several attacks on judges in recent years. . . . There also has been a
      steady rise in threats and inappropriate communications against federal
      judges and other court personnel, from 926 such incidents in 2015 to
      2,710 incidents in 2023, according to the Marshals Service. Some
      threats have involved litigants angered by judges' decisions in cases,
      and the home addresses of judges handling controversial cases have
      been circulated on social media.

See U.S. Courts, Facilities and Security – Annual Report 2023 (2023),

https://www.uscourts.gov/statistics-reports/facilities-and-security-annual-report-

2023. See also Congressional Research Service, Security for the Federal Judiciary:

Recent Developments at 1 (April 11, 2023), https://crsreports.congress.gov/

product/pdf/IN/IN12143 (discussing the sale and circulation of PII on the Internet

and citing a 2022 publication from the Administrative Office of U.S. Courts).

      As the National Center for State Courts recently highlighted, this surge in

threats against federal judges, prosecutors, and other court officials represents a

staggering “400% increase since 2015.” National Center for State Courts, Judicial

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Security Update (2024), https://ccj.ncsc.org/news/judicial-security-update. For

judges, serious threats have more doubled during the past three years – rising “to

457 [serious incidents meriting investigation] in fiscal year 2023 [], [up] from 224

in fiscal 2021, according to the previously unreported data. Serious threats against

federal prosecutors also more than doubled, from 68 in 2021 to 155 in 2023, the

statistics show.” Joseph Tanfani et al., Exclusive: Threats to US federal judges

double    since   2021,    driven   by    politics,   Reuters   (Feb.   13,     2024),

https://www.reuters.com/world/us/threats-us-federal-judges-double-since-2021-

driven-by-politics-2024-02-13/. These skyrocketing threats “marked a dramatic

increase from 2019, when the Marshals investigated 179 such threats, according to

the data. In the past, judges mostly faced threats from people who were upset about

a judge’s decision in their own cases, [Marshals Director Ronald] Davis said. Now,

he [explained], many more are coming from people enraged because of politics.” Id.

Accord Luke Barr, Federal judges, prosecutors see triple-digit increase in threats

in 2023, ABC News (Feb. 13, 2024), https://abcnews.go.com/Politics/federal-

judges-prosecutors-triple-digit-increase-threats-2023/story?id=107198746

(“Federal judges and federal prosecutors saw a triple-digit increase in threats in

2023, according to statistics released [] by the U.S. Marshals Service.”).

      At the state level too, personal threats and actual violence are multiplying.

Individuals “have attacked or threatened state judges and court personnel in Nevada,

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Colorado, Texas, Ohio, Mississippi, Rhode Island, New York, California, Kentucky,

Michigan, Wyoming, Idaho, and Indiana. . . .” Id. Accord The National Judicial

College, Over half of judges report threats, environment affecting mental health

(June 27, 2024), https://www.judges.org/news-and-info/over-half-of-judges-report-

threats-environment-affecting-mental-health/ (“The United States Marshall’s

Service reports that serious threats to federal judges have doubled since 2021, a

pattern also seen at the state court level. There have been multiple high-profile

physical attacks on [state] judges and their families, including homicides, as well a

barrage of threats sent directly to judges or posted on social media.”); Wisconsin

Public Radio, With threats against judges on the rise, lawmakers push judicial

security package (Jan. 26, 2024), https://www.wpr.org/news/with-threats-against-

judges-on-the-rise-lawmakers-push-judicial-security-package (“In 2022, . . . [state]

Court Judge John Roemer was zip-tied to a chair in his home and executed.”).

      The sale of private information by commercial data brokers, particularly when

it involves a home address, has proven to be a central factor in the current threat

environment. “Judges handling controversial cases [] have seen their home addresses

circulated on social media.” U.S. Courts, Judiciary Affirms Need for Bill to Protect

Federal      Judges       (July   14,     2021),     https://www.uscourts.gov/news/

2021/07/14/judiciary-affirms-need-bill-protect-federal-judges. See also National

Center for State Courts, NCSC supports new legislation to protect state court judges

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from escalating threats (2024), https://www.ncsc.org/newsroom/at-the-center/2024/

ncsc-supports-new-legislation-to-protect-state-court-judges-from-escalating-threats

(“‘My attacker obtained my home address, phone number, and the make and model

of my vehicle from online searches, and he stalked me and my family for weeks,’

recalls Judge Kocurek.”).

      The sale and propagation of personally identifiable information stems largely

from the meteoric rise of commercial data brokers, an industry which has garnered

recent scrutiny because of its security implications. See, e.g., Congressional

Research Service, Regulation of Data Brokers: Executive Order 14117 on

Preventing Access to Americans’ Sensitive Data by Countries of Concern (May 16,

2024), https://crsreports.congress.gov/product/pdf/IN/IN12362; Justin Sherman et

al., Data Brokers and the Sale of Data on U.S. Military Personnel, Duke University

(Nov. 2023) (research sponsored by the United States Military Academy),

https://techpolicy.sanford.duke.edu/data-brokers-and-the-sale-of-data-on-us-

military-personnel/.

      The sale of PII, particularly home addresses, poses heightened risks to groups

of civil servants like amici because of the security vulnerabilities of a personal

residence. The National Judicial College surveyed a historical analysis of “attacks

[against] justice personnel from 1950-2013 [and] found that 51 percent of the attacks

occurred at the residence with a 68 percent kill rate.” John F. Muffler, Protecting

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Your Castle: Residential Security for Judges, The National Judicial College (Nov.

19, 2015), https://www.judges.org/news-and-info/residential-security-for-judges/

(citation omitted). This alarming trend reflects the unique features of homes. “For

the most part, courthouses are safe and secure. With security officers,

magnetometers, x-rays, cameras, duress alarms, ballistic barriers, high grade locks

and lighting, they provide an excellent security blanket. However, when you step out

of the courthouse, your vulnerability skyrockets. You no longer have the systems

and personnel at your disposal.” Id. See generally Hannah Elias Sbaity, Private Lives

at Home and Public Lives in Court: Protecting the Privacy of Federal Judges' Home

Addresses, 28 J. Intell. Prop. L. 475 (2021), https://digitalcommons.law.uga.edu/

jipl/vol28/iss2/7.

      Recently, the jump in threats against employees of the justice system have

prompted increased budgets for court security – including funding specifically to

remove PII from Internet vendors and other sources. See Jacqueline Thomsen,

Threats Against US Judges Prompt Request for More Security Funds, Bloomberg

(March 6, 2024), https://news.bloomberglaw.com/us-law-week/threats-against-us-

judges-prompt-request-for-more-security-funds (“The budget would also fund the

removal of personally identifiable information of judges from the internet, permitted

through a 2022 law passed after the fatal shooting of US District Judge Esther Salas’s

son at their New Jersey home.”). See also Nate Raymond, US Supreme Court seeks

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security funding to protect justices, homes, Reuters (March 4, 2024),

https://www.reuters.com/world/us/us-supreme-court-seeks-security-funding-

protect-justices-homes-2024-03-04/.

      But there is simply not enough public funding to personally protect every

judge, prosecutor, and police officer at their home whenever they face a serious

threat. A recent audit by the U.S. Department of Justice Inspector General explicitly

“found that the USMS [U.S. Marshals Services] does not have the resources or

proactive threat detection capabilities that the USMS has determined it needs to meet

its protective services obligations for USMS-protected persons, including judges.”

Office of the Inspector General, U.S. Department of Justice, Audit of the U.S.

Marshals       Service     Judicial      Security      Activities     (June      2021),

https://oig.justice.gov/sites/default/files/reports/21-083.pdf. Even when specific

threats require temporary protective details for federal judges, those security services

are extraordinarily expensive, hard to staff, and face real budgetary constraints. See

Suzanne Monyak, Judicial Security Resources Stretched Amid Rising Threats,

Bloomberg (May 2, 2024), https://news.bloomberglaw.com/us-law-week/judicial-

security-resources-stretched-amid-rising-threats. Moreover, state budgets and

resources are often even more limited. “While the U.S. Marshals Service monitors,

addresses, and develops best practices around threats to the federal judiciary, no such

resource center exists for the estimated 30,000 judicial officers who serve in state

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and local courts.” National Center for State Courts, Judicial Security Update (2024),

supra.

         For all these reasons, statutes like Daniel’s Law serve a compelling interest in

protecting judges, prosecutors, and law enforcement by regulating the services and

sales of commercial data brokers. As Judge Roslynn Mauskopf recently testified:

         The federal [analog to] ‘Daniel’s Law’. . . is important to the judiciary;
         these issues are critical. Lives have been lost and threatened because
         judges’ addresses and phone numbers are available online and bad actors
         are using that information to do harm to judges and their families. This
         [legislation] is supported by the Federal Judges Association, the Federal
         Magistrate Judges Association, the National Conference of Bankruptcy
         Judges, the Federal Bar Association, the American Bar Association, the
         Hispanic National Bar Association, the New York Intellectual Property
         Law Association, Association of the Federal Bar of New Jersey, the
         Federal Bar Council, and the National Association of Attorneys General.

Statement of Judge Roslynn Mauskopf, Director, Administrative Office of the United

States Courts, S. 2340 The Daniel Anderl Judicial Security and Privacy Act of 2021

at 4 (Dec. 2, 2021), https://www.uscourts.gov/sites/default/files/statement_of_

judge_roslynn_mauskopf_december_2021_0.pdf. Today, organizations like the

National Center for State Courts specifically urge all judges and court personnel to

exercise their rights under statutes like Daniel’s Law in order to remove sensitive

private information from public brokers and sources. See National Center for State

Courts, Personal Safety Tips for Judges and Court Staff (updated Oct. 2023),

https://www.ncsc.org/__data/assets/pdf_file/0023/95144/Safety-PDF_P3.pdf (“Be

aware of laws or statutes regarding the protection of personally identifiable

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information for judges. If at all possible, do not have a publicly listed or published

home address.”). In sum, Daniel’s Law provides critical protections to prosecutors,

law enforcement officers, and judges in the face of doubling threats of violence at

home and through the Internet.

      B. Protecting public servants and their families against assassination
         and other grave threats is integral to the independence of the
         judiciary and to the rule of law.

      Safeguarding officials like amici’s members from serious threats is not only

crucial at an individual level or for their families – it is also foundational for our

system of government. Chief Justice Roberts has repeatedly highlighted the core

principles at stake. In his 2024 report to the federal judiciary, he stressed how

“violence” and “intimidation” “threaten the independence of judges on which the

rule of law depends.” Chief Justice John G. Roberts, Jr., 2024 Year-End Report on

the Federal Judiciary, supra at 5. Id. at 8 (“violence, intimidation, and defiance

directed at judges because of their work undermine our Republic, and are wholly

unacceptable.”). He underscored a similar point two years earlier:

      Just this month, Congress enacted the [federal equivalent to Daniel’s
      Law] to help protect judges and their families. The law requires every
      judge to swear an oath to perform his or her work without fear or favor,
      but we must support judges by ensuring their safety. A judicial system
      cannot and should not live in fear.

Chief Justice John G. Roberts, Jr., 2022 Year-End Report on the Federal Judiciary

at 4 (Dec. 31, 2022), https://www.supremecourt.gov/publicinfo/year-end/2022year-

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endreport.pdf. Judge Mauskopf highlighted a similar point: “‘Our constitutional

system depends on an independent Judiciary . . . . Judges must be able to make

decisions without fear of reprisal or retribution. This is essential not just for the

safety of judges and their families, but also to protect our democracy.’” U.S. Courts,

Judiciary Affirms Need for Bill to Protect Federal Judges (July 14, 2021), supra.

      Numerous state and federal judges at the trial and appellate levels have also

underscored the important ramifications for the rule of law here. See National Center

for State Courts, Judicial Security Update (2024), supra (“Chief Judge Blackburne-

Rigsby of DC: ‘A safe and secure judiciary is vital to upholding the rule of law and

ensuring that all judges are well-positioned to make fair and impartial rulings, and

that their decisions cannot be influenced or changed by any threats, intimidation, or

retaliation.’”); id. (“Chief Justice Fader of Maryland: ‘While judges have always

lived with a certain level of risk, we have never experienced risk on the scale that

we currently see today. We are facing an entirely new threat environment that drives

to the very heart of the rule of law and the fair administration of justice under law.’).

Likewise, a bipartisan set of state attorneys general, in advocating for the federal

analog to Daniel’s Law, specifically highlighted that “[a]n independent judiciary is

a foundational principle of our American government, and judges cannot fulfill their

constitutional role while they, and those close to them, are targeted for judicial

work.” See Mark Brnovich & Gurbir S. Grewal, Congress must pass Daniel’s Law

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to protect federal judges, Roll Call (July 16, 2021), https://rollcall.com/2021/07/16/

congress-must-pass-daniels-law-to-protect-federal-judges/.

      The independence and effective operation of the judicial branch depends on

the safety and security of its proceedings and participants. If judges, law enforcement

officers, or prosecutors, among others, were regularly threatened, injured, and/or

killed at home due to the proliferation of sensitive PII, aside from being a manifest

tragedy, it would also undermine the vital work of the judiciary, imperil objective

decision-making, and potentially deter individuals from becoming judges,

prosecutors, or law enforcement officers in the first place. In the long run, Chief

Justice Michael Boggs of Georgia explained, “[t]hreats and attacks on judges can

also lead to continued and increased judicial threats and attacks. When people

attempt to harm or kill a judge or their family member because of their position and

the work they do, this emboldens others to do so as well.” National Center for State

Courts, Judicial Security Update (2024), supra. The New Jersey state legislature was

right to recognize these vital systemic interests in crafting Daniel’s Law.

      C. Daniel’s Law places a generally modest regulatory burden on
         commercial data brokers.

      In service of the compelling interests outlined above, Daniel’s Law establishes

sensible regulatory requirements for the most likely suppliers of sensitive PII:

commercial data brokers.



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       As a practical matter, complying with statutes like Daniel’s Law is relatively

straightforward: when requested by a judge or other covered person, the data broker

must simply remove the relevant data in a prompt manner – or face risk of a claim.

See generally N.J.S.A. 2C:20-31.1(c) and N.J.S.A. 56:8-166.1(a)(2). As a practical

matter, in the mine run of cases,2 Daniel’s Law imposes a manageable compliance

obligation upon an enormous and increasingly sophisticated industry. See, e.g., Press

Release, Data Brokers Market Estimated to Reach US$ 462.4 billion by 2031, TMR

Report, GlobeNewswire (Aug. 1, 2022), https://www.globenewswire.com/news-

release/2022/08/01/2489563/0/en/Data-Brokers-Market-Estimated-to-Reach-US-

462-4-billion-by-2031-TMR-Report.html; Hitachi Security Systems, What is a data

broker and how do they impact privacy (2024), https://hitachi-systems-

security.com/what-is-a-data-broker-and-how-do-they-impact-privacy/ (“Although

some brokers may be individual actors, data brokerage is a mature industry mostly

comprised of big players”).

       These sorts of regulations on commercial data brokers are increasingly

commonplace and common sense – for good reason. “Most states now have laws


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          From time to time, exceptional cases may prompt courts to consider unique applications
of Daniel’s Law that give rise to situation-specific First Amendment issues. As the District Court
rightly recognized, “[f]f any of these hypotheticals ever comes to pass, the defendants’ remedy is
to challenge Daniel’s law as unconstitutional as applied.” JA109-110 (citing United States v.
Hansen, 599 U.S. 762, 784-85 (2023)). If need be, courts are also well-equipped to fashion an
appropriately tailored remedy (e.g., a narrowing construction of the statute). But those are edge
cases that are far afield from the basic operation of Daniel’s Law in this case or as it typically
arises for amici and its members.
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prohibiting governmental entities from disclosing the home addresses of at least

some public employees, with judges among the most commonly protected. . . .”

David Lieb, States shield addresses of judges, workers after threats, Associated

Press (May 14, 2023), https://apnews.com/article/sunshine-week-secrecy-home-

address-26306e390694f6ab9c95f978f4e4c207 (citing Jodie Gil, Robert A. Smith,

Jr., & Kauther S. Badr, Home Address Exemptions in State FOI Laws, 4 J. Civic

Info. 4, 1-45 (2022)). Moreover, “[a] study panel of the Uniform Law Commission,

a nonprofit organization that drafts potential legislation for state lawmakers, plans

to recommend [] that a common policy be drafted to exclude judges’ home addresses

and certain personal information from public-record disclosures. . . .” Id. See also

Uniform Law Commission, Drafting Committee on Redaction of Personal

Information from Public Records Committee (June 18, 2024) (pausing additional

review of ULC’s draft law in order to monitor litigation in New Jersey, i.e., the case

at bar).

       The wisdom of removing sensitive PII for certain public officials also reflects

historical practice. Indeed, in the heyday of printed phone directories (e.g., Yellow

Pages and White Pages), law enforcement officers and judges commonly removed

their home address or home phone number from sale or distribution in light of the

security risks. See, e.g., Dave Smith, Give Me an Unlisted Number, Please, Police

Magazine (Aug. 12, 2016), https://www.policemag.com/patrol/article/15346679/

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give-me-an-unlisted-number-please (“Identity control has been a topic for decades

in the law enforcement profession. . . . In the old days . . . phone company would not

publish your information [upon request]”). This remains a best practice for members

of the judiciary to this day. See, e.g., The Chicago Bar Association and The John

Marshall Law School Center for Information Technology and Privacy Law,

Protecting Your Personal Privacy: A Self-Help Guide for Judges and Their Families

at 11 (2006), https://www.supremecourt.ohio.gov/docs/Boards/OJFN/resources/

Privacy.pdf (“You can also unlist your name, address and phone number from the

phone book”).

      Amici have not found any published case indicating that removing such

sensitive data was considered to pose a First Amendment problem at the time – let

alone a facial constitutional violation across all circumstances. To the contrary,

before the Internet era, courts in other jurisdictions recognized the compelling

interest that law enforcement officials have in their home addresses. For example,

the Sixth Circuit held that releasing “addresses, phone numbers” and other sensitive

information belonging to undercover police officers implicated both their

fundamental liberty interests (i.e., increased security risks) and also the

constitutional right to privacy. Kallstrom v. City of Columbus, 136 F.3d 1055, 1063-

1067 (6th Cir.1998). Therefore, the court concluded, the data should not have been

publicly disclosed, since “under the[] circumstances [it] create[d] a constitutionally

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cognizable ‘special danger,’’ id. at 1067. See also Smith v. Dayton, 68 F.Supp.2d

911, 918 (S.D. Ohio 1999) (holding that a city's release to a newspaper of an address,

unlisted phone number, and other identifying information of a police officer violated

his constitutional right to privacy). These commonsense precepts should apply

equally to the commercial brokering and use of sensitive private data in the Internet

era.

       Despite some over-the-top rhetoric by Appellants, complying with Daniel’s

Law is not the end of the world — nor does it spell the demise of the Internet. But

for judges and members of the law enforcement community it can actually make a

world of difference – since reselling private data like their home addresses can

exacerbate an increasingly dangerous threat landscape and have severe

consequences for the safety and well-being of amici’s members. At bottom, Daniel’s

Law serves a compelling interest for public officials like amici’s members and has

a modest regulatory impact upon a $400 billion industry. Historical practice,

governmental security assessments, and common sense all point in the same

direction.




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                                  CONCLUSION

      This Court should affirm the District Court’s denial of Appellants’ motion to

dismiss.



May 19, 2025                                   Respectfully submitted,

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                   CERTIFICATE OF BAR MEMBERSHIP

      I hereby certify that I am counsel of record and a member in good standing of

the Bar of the United States Court of Appeals for the Third Circuit.



May 19, 2025                                  /s/ Rebekah Conroy
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May 19, 2025                                     /s/ Rebekah Conroy
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      I hereby certify that on this 19th day of May 2025, I electronically filed the

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